
Pendleton, President,
delivered the resolution of the court, that the decree was to be reversed for the reasons contained in the following entry to be made in the cause :
“ The court is of opinion, that the facts stated in the proceedings are too imperfect to enable the court to decide upon the supposed merits of the cause, arising under the several acts of assembly therein mentioned ; but if it were *363otherwise, it would be improper to discuss the subject upon this unusual bill, lest injury should be produced to the appellee. The bill is brought by a mother (or perhaps, without her knowledge, by a step father) in possession of slaves, claiming them under the will of her father, against an infant daughter, stating the adverse claim of the daughter to the same slaves, and drawing her into a discovery and contest, and finally into a release of that claim : It is, in its nature, a bill quia timet, without even a suggestion of the usual and proper grounds for sustaining such a proceeding; since a discovery, from an infant, of a transaction prior to her birth, could not have been expected; and no testimony having been taken, it is supposed there existed none to be preserved; and that the said decree is erroneous. Therefore, it is decreed and ordered that the same be reversed and annulled, and that the appellee pay to the appellants their costs by them expended in the prosecution of their appeal aforesaid here ; and this court proceeding to make such decree as the said high court of chancery should have pronounced, it is further decreed and ordered, that the appellants’ bill be dismissed, and that they pay to the appellee her costs by her about her defence in the said high court of chancery expended»”
